       Case 4:21-cv-00119-DCB Document 48 Filed 03/01/22 Page 1 of 7




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 7                       IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE DISTRICT OF ARIZONA
 9    DOUGLAS ALTSCHULER,
10                  Plaintiff,                         No. CV-21-00119-TUC-DCB
11           vs.
                                                       FIRST AMENDED COMPLAINT
12    CHUBB NATIONAL INSURANCE
      COMPANY, an Indiana corporation,                 (Tort, Non-Motor Vehicle; Insurance
13                                                     Breach of Contract, Bad Faith)
                    Defendant.
14                                                     (Assigned to the Honorable David C.
                                                       Bury)
15
16          Plaintiff Douglas Altschuler, for his Complaint against Defendant Chubb National
17   Insurance Company (“Chubb”), alleges as follows:
18                      JURISDICTION AND VENUE ALLEGATIONS
19          1.     Douglas Altschuler is a resident of Arizona.
20          2.     Chubb National Insurance Company (“Chubb”), is an Indiana corporation
21   engaged in the business of insurance in Pima County, Arizona.
22          3.     The property insurance agreement that is the subject of this action was sold
23   to Plaintiff by Chubb. This Court has jurisdiction pursuant to 28 U.S.C. § 1332 in that
24   diversity of citizenship exists for the purposes of establishing federal jurisdiction. The
25   amount of damages sought by the Plaintiff exceeds the minimum jurisdictional amount
26   established for filing in this Court. Venue is proper in this Court.
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       Case 4:21-cv-00119-DCB Document 48 Filed 03/01/22 Page 2 of 7




 1                                  FACTUAL ALLEGATIONS

 2          4.     At all relevant times hereto, Plaintiff’s family owned a residence located at
 3   6330 Camino De Santa Velera, Tucson, Arizona (the “Property”).
 4          5.     Plaintiff purchased coverage for his real property and valuable articles
 5   through Chubb under an insurance policy issued by Chubb, policy number 13808452-05
 6   (the “Policy”), in which his wife (Zoe Werner) was also a policyholder.
 7          6.     The Policy contained Replacement Cost coverage for fine art and jewelry,
 8   with Itemized Schedules (Lists) for both categories of insured property.
 9          7.     Chubb was aware that Plaintiff stored many of these items at the Property.
10          8.     In December, 2019, Mr. Altschuler discovered a box containing multiple fine
11   art silk screen prints was missing and presumed stolen (“Loss No. 1”) from the residence
12   and reported the loss. Mr. Altschuler reported the theft to local law enforcement. Prior to
13   the discovery of the theft, the Plaintiff’s housekeeper reported finding the door open when
14   reporting for work one day while the Plaintiff was out of town.
15          9.     In February, 2020, Mr. Altschuler discovered a stainless steel Rolex watch,
16   which he owned as part of his watch collection, was also missing and presumed stolen from
17   the residence (“Loss No.2”) and duly reported the loss.
18          10.    At the time of the two Losses, the Policy was in full force and effect.
19          11.    Plaintiff timely submitted both claims to Chubb regarding the two Losses,
20   which Chubb acknowledged and assigned claim numbers 0920200001456 and
21   040520024846, respectively (the “Claims”).
22          12.    Plaintiff has performed all of his obligations and responsibilities under the
23   Policy with respect to the two Claims.
24          13.    Following receipt of the Claims, Chubb engaged the services of an
25   investigator regarding the thefts of the fine art and the watch. As of the date of this filing,
26   no copy of the investigator’s report with a determination has been revealed to the Plaintiff.
27          14.    On October 6, 2020, Plaintiff Altschuler submitted to an Examination Under
28   Oath, as required by the Policy.

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       Case 4:21-cv-00119-DCB Document 48 Filed 03/01/22 Page 3 of 7




 1          15.      As of the date of this filing, Chubb has not accepted liability for the two

 2   losses, although its liability is clear.

 3          16.     Applying Arizona insurance law, one of the foremost obligations of an

 4   insurer is to “immediately conduct an adequate investigation, act reasonably in evaluating

 5   the claim, and act promptly in paying a legitimate claim.” Zilisch v. Chubb Mut. Auto. Ins.

 6   Co., 196 Ariz. 234, 237, ¶ 21 (2000) (emphasis added). Moreover, under Arizona law, if

 7   there is a failure to conduct an adequate investigation, it is bad faith for an insurer to then

 8   take a position while lacking a “founded belief” that its position is proper. See Rawlings v.

 9   Apodaca, 151 Ariz. 149, 160 (1986) (“The founded belief is absent when the insurer either

10   knows that its position is groundless or when it fails to undertake an investigation adequate

11   to determine whether its position is tenable. In either event, its position is without

12   reasonable basis and subjects it to payment of damages in addition to those traditionally

13   recoverable in a breach of contract action.”).

14          17.     Upon information and belief, Chubb did not conduct a reasonable and

15   adequate investigation into the Losses and the Claims.

16          18.     Plaintiff has timely responded to all reasonable inquiries and requests from

17   Chubb and Chubb’s agents and investigator regarding the Claim.

18          19.     As of the date of this filing, Chubb has refused to make the payment due and

19   owing to Plaintiff for the two Losses.

20          20.     Chubb knows or should know that its failure to provide payment to Plaintiff

21   for the two Losses is not justified.

22          21.     With respect to the events giving rise to this lawsuit, at various times and in

23   various ways, Chubb acted through agents and employees, but Chubb is vicariously liable

24   for the acts and omissions of all such agents and employees. Under Arizona law, all

25   applicable good faith and claims handling duties owed by Chubb are non-delegable.

26          22.     Chubb’s conduct complained of herein was, and continues to be, intentional,

27   willful and wanton, and/or taken in conscious disregard of the Plaintiff’s rights, thus

28   justifying the imposition of punitive damages.

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       Case 4:21-cv-00119-DCB Document 48 Filed 03/01/22 Page 4 of 7




 1
                   Count 1 - Breach of Insurance Contract; Breach of Implied
 2                            Duty of Good Faith and Fair Dealing

 3          23.    The foregoing allegations are hereby incorporated by reference.

 4          24.    Chubb agreed to provide property insurance coverage for Plaintiff.

 5          25.    Chubb was paid premiums in exchange for its indemnity obligations to

 6   Plaintiff.

 7          26.    The Policy, like all contracts within the State of Arizona, contains an implied

 8   duty of good faith and fair dealing.

 9          27.    Plaintiff has fulfilled all of his obligations under the Policy.

10          28.    As described herein, Chubb failed to perform its obligations pursuant to the

11   Policy, including failing to pay the benefits which Plaintiff is entitled to in connection with

12   the two Losses, and failing to conduct an adequate investigation.

13          29.    By wrongfully failing to process the Claim in good faith and failing to pay

14   the two Claims, and failing to conduct an adequate investigation, Chubb breached the

15   Policy, including the implied covenant of good faith and fair dealing in that Policy, thereby

16   depriving Plaintiff of the benefits owed to him under the insurance contract.

17          30.    Chubb failed to handle Plaintiff’s two Claim in a reasonable manner and it

18   has failed to make payments owed under the Policy.

19          31.    As a proximate result of Chubb’s breach of contract and breach of the implied

20   covenant of good faith and fair dealing, Plaintiff has sustained reasonably foreseeable

21   damages, and continues to sustain such damages, in an amount to be proven at trial.

22          32.    Plaintiff is entitled to an award of its attorneys' fees under A.R.S. § 12-

23   341.01.

24          WHEREFORE, on this claim, Plaintiff requests judgment against Chubb, as

25   follows:

26          A.     For compensatory damages in a just and reasonable amount (including both

27   contractual damages and extra-contractual or consequential damages);

28          B.     For attorneys’ fees and costs, and in the event of a default judgment, for

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       Case 4:21-cv-00119-DCB Document 48 Filed 03/01/22 Page 5 of 7




 1   attorneys’ fees in the amount of $1,500;

 2          C.     For pre- and post-judgment interest;

 3          D.     For taxable costs pursuant to A.R.S. §12-341; and

 4          E.     For such other relief as the Court deems just and proper.

 5                          Count 2 – Tortious Bad Faith Claims Handling

 6          33.    The foregoing allegations are hereby incorporated by reference.

 7          34.    In Arizona, “the tort of bad faith arises when the insurer ‘intentionally denies,

 8   fails to process of pay a claim without a reasonable basis.’” Zilisch v. Chubb Mutual Auto.

 9   Ins. Co., 196 Ariz. 234, ¶20 995 P.2d 276, 279 (2000) (quoting Noble v. National Am. Life

10   Ins. Co., 128 Ariz. 188, 190, 624 P.2d 866, 868 (1981)). “An insurance contract is not an

11   ordinary commercial bargain; ‘implicit in the contract and the relationship is the insurer’s

12   obligation to play fairly with its insured.’” Id. (quoting Rawlings v. Apodaca, 151 Ariz.

13   149, 154, 726 P.2d 565, 570 (1986)). “The insurer has ‘some duties of a fiduciary nature,’

14   including ‘[e]qual consideration, fairness and honesty.’” Id. (quoting Rawlings, 151 Ariz.

15   at 155, 726 P.2d at 571). “The carrier has an obligation to immediately conduct an adequate

16   investigation, act reasonably in evaluating the claim and act promptly in paying a legitimate

17   claim.” Id. at ¶ 21.

18          35.    Chubb owes and continues to owe Plaintiff a duty of good faith and fair

19   dealing.

20          36.    Pursuant to the terms of the Policy, Chubb is obligated to pay Plaintiff for

21   the two Losses at issue.

22          37.    Without an adequate justification for doing so, Chubb has failed to pay

23   Plaintiff any amount due under the Policy for the two Losses sustained.

24          38.    Chubb has breached its contractual obligations to Plaintiff and it has refused

25   to perform its duties owed to Plaintiff including, inter alia, the duty to investigate, adjust,

26   and negotiate Plaintiff’s two claims fairly, adequately, and in good faith.
            39.    As described herein, Chubb breached its contractual and quasi-fiduciary
27   obligations to Plaintiff.
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       Case 4:21-cv-00119-DCB Document 48 Filed 03/01/22 Page 6 of 7




 1          40.    Upon information and belief, Chubb’s conduct has been self-serving and a

 2   ploy to protect Chubb’s own financial interests, at the expense of Plaintiff’s rights.

 3          41.    Also upon information and belief, Chubb has consciously pursued a course

 4   of conduct knowing that it created a substantial risk of significant harm to Plaintiff.

 5   Furthermore, Chubb has acted to serve its own interests, over those of Plaintiff. Plaintiff is

 6   entitled to an appropriate award of punitive damages.

 7          42.    As a result of Chubb’s unjustified failure to pay for the two Losses, Plaintiff
 8   has suffered and will continue to suffer significant consequential and extra-contractual
 9   losses in this matter.
10          WHEREFORE, on this claim, Plaintiff requests judgment against Chubb as follows:
11          A.     For compensatory damages in a just and reasonable amount (including both
12   contractual damages and extra-contractual or consequential damages);
13          B.     For punitive or exemplary damages in a just and reasonable amount;
14          C.     For attorneys’ fees and costs, and in the event of a default judgment, for
15   attorneys’ fees in the amount of $1,500;
16          D.     For pre- and post-judgment interest;
17          E.     For taxable costs pursuant to A.R.S. §12-341; and
18          F.     For such other relief as the Court deems just and proper.
19
20          DATED this 1st day of March. 2022.
21                                              POLI, MOON & ZANE, PLLC
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23
                                                By /s/ Jeffrey G. Zane
24                                                 Michael N. Poli
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26                                                 Attorneys for Plaintiff
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      Case 4:21-cv-00119-DCB Document 48 Filed 03/01/22 Page 7 of 7




 1                              CERTIFICATE OF SERVICE

 2         I hereby certify that on March 1, 2022, I electronically transmitted the foregoing
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrants:
 5                                    Robert T. Sullivan
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10                                                  /s/ Linda Lieber
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